

People v Diallo (2024 NY Slip Op 50270(U))



[*1]


People v Diallo (Abraham)


2024 NY Slip Op 50270(U)


Decided on March 15, 2024


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on March 15, 2024
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Tisch, J.P., James, Perez, JJ.



570294/19

The People of the State of New York, Respondent,
againstAbraham Diallo, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Laurie Peterson, J.), rendered March 27, 2019, convicting him, upon his plea of guilty, of petit larceny, and imposing sentence.




Per Curiam.
Judgment of conviction (Laurie Peterson, J.), rendered March 27, 2019, modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees, and otherwise affirmed.
Based on our own interest of justice powers and with the People's consent, we vacate the surcharge and fees imposed at sentencing (see People v Chirinos, 190 AD3d 434 [2021]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: March 15, 2024









